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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

BRITANY WALKER                                   §
     Plaintiff,                                  §
                                                 §
VS.                                              §           CIVIL ACTION NO. __________
                                                 §
DANCOR TRANSIT, INC. and                         §
STEWART DARDEN                                   §
    Defendants.                                  §

                                    NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Pursuant to 28 U.S.C. §§ 1332, 1441(a) and 1446, Defendants DANCOR TRANSIT,

INC. and STEWART DARDEN (“Defendants”) file this Notice of Removal of this case from the

134th District Court of Dallas County, Texas to the United States District Court for the Northern

District of Texas, Dallas Division. In support of this Notice of Removal, Defendants state as

follows:

              CASE BACKGROUND AND FOUNDATION FOR REMOVAL

1.     On January 27, 2016, Plaintiff commenced an action in the 134th District Court of Dallas

County, Texas, Cause No. DC-16-00955 against Dancor Transit, Inc. and Stewart Darden

seeking judgment against Defendants for injuries that Plaintiff allegedly suffered as a result of a

motor vehicle collision that occurred on June 17, 2014 in Dallas, Texas. Plaintiffs’ claims against

Defendants are based on theories of negligence, negligence per se and respondeat superior.

2.     Plaintiffs served Defendants on or about February 25, 2016. Defendants filed their

answers on March 10, 2016. True and correct copies of the Petition and Answer are attached as

Exhibit A and incorporated by reference.
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3.       This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332.

Further, this matter is one that may be removed to this Court pursuant to 28 U.S.C. § 1332(a) and

28 U.S.C. § 1441(b) because it is a civil action that is between citizens of different states and in

which the amount in controversy exceeds $75,000, exclusive of interests and costs.

4.       Defendants remove the case to this District and Division pursuant to 28 U.S.C. § 1441(a).

                          COMPLETE DIVERSITY OF CITIZENSHIP

5.       There is complete diversity of citizenship between the parties to this litigation.

         (a) Plaintiff is a citizen of Texas, residing in Dallas, Texas. See Plaintiffs’ Original

Petition at Par. III.

         (b) Defendant Dancor Transit, Inc. is incorporated in Arkansas and has its principal place

of business (“never center”) at 625 Kerr Street, Van Buren, Arkansas 72956. Dancor Transit has

a facility (‘yard”) at 2340 Lombardy Lane, Dallas, Texas, but that yard is not Dancor Transit,

Inc.’s principal place of business (“nerve center”).

         (c) Defendant Stewart Darden is a citizen of Oklahoma, residing at 207 N. Curance,

Broken Bow, Oklahoma, 74728.

         Accordingly, the Defendants are diverse from the Plaintiff.

                        AMOUNT IN CONTROVERSY EXCEEDS $75,000

6.       Plaintiff states in Plaintiffs’ Original Petition filed in the state court that Plaintiff seeks

monetary relief of over $100,000 but not more than $200,000. See Plaintiffs’ Original Petition at

Par. II. Defendants deny the allegations in the Petition. However, taking those allegations on

their face as true, as this Court must do for the purpose of determining the propriety of removal,

it is clear that Plaintiff’s damages sought in this case exceed $75,000, exclusive of interests and

costs.
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7.     Given the complete diversity of the remaining parties and an amount in controversy in

excess of $75,000, this Court has jurisdiction over the causes of action and claims asserted in the

State Court Action pursuant to 28 U.S.C. § 1332 and this action is properly removable pursuant

to 28 U.S.C. § 1441.

8.     This Notice of Removal has been served on Plaintiff’s counsel. A Notice of Filing of

Notice of Removal to Federal Court (attached as Exhibit B) will be filed in the State Court

proceeding as soon as this Notice of Removal is filed with this Court.

                                         CONCLUSION

       Because Plaintiff and Defendants are citizens of different states, and the amount in

controversy exceeds $75,000, exclusive of interest and costs, this Court has jurisdiction over

Plaintiff’s claims pursuant to 28 U.S.C. § 1332. Defendants are therefore entitled to remove this

case to this Court pursuant to 28 U.S.C. § 1441.

       WHEREFORE, Defendants DANCOR TRANSIT, INC. and STEWART DARDEN

request that the action now pending before the 134th District Court of Dallas County, Texas,

Cause No. DC-16-00955 be removed to this Court.

                                              Respectfully submitted,

                                              /s/ Jerald L. Butler
                                              _______________________________________
                                              Jerald L. Butler
                                              SBN: 00783771
                                              LAW OFFICE OF DRISKELL & LAWRENCE
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                                              ATTORNEY FOR DEFENDANTS
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                                                                                                             CAUSE NO.       DC-16-00955

                                                                               BRITANY WALKER                                                 IN THE DISTRICT COURT OF


                                                                                       Plaintiff,

                                                                               VS.                                                               DALLAS COUNTY, TEXAS

                                                                               DANCOR TRANSIT, INC., AND
                                                                               STEWART DARDEN


                                                                                       Defendants.                                                      JUDICIAL DISTRICT

                                                                                       PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE,
                                                                                      FIRST SET OF INTERROGATORIES, FIRST REQUEST FOR ADMISSIONS,
                                                                                     FIRST REQUEST FOR PRODUCTION AND REQUEST FOR PRIVILEGE LOG
                                                                                                             TO DEFENDANTS

                                                                                  TO THE HONORABLE COURT:

                                                                                           Plaintiff Britany Walker files Plaintiff's Original Petition complaining of

                                                                                  Defendants Dancor Transit, Inc., and Stewart Darden.

                                                                                                             I. DISCOVERY CONTROL PLAN

                                                                                           Discovery is intended to be conducted under Level 3 pursuant to Rule 190

                                                                                  of the TEXAS RULES OF CIVIL PROCEDURE.

                                                                                                        II. RULE 47 PLEADING REQUIREMENTS

                                                                                           As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffs

                                                                                     counsel states that the damages sought are in an amount within the

                                                                                     jurisdictional limits of this Court. As required by Rule 47(c), Texas Rules of Civil

                                                                                     Procedure, Plaintiff's counsel states that Plaintiff seeks monetary relief of over

                                                                                     $100,000 but not more than $200,000. The amount of monetary relief actually




                                                                                  PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                  awarded, however, will ultimately be determined by a jury. Plaintiff also seeks

                                                                                  pre-judgment and post-judgment interest at the highest legal rate.

                                                                                                                      III. PARTIES

                                                                                         Plaintiff Britany Walker is an individual resident of Dallas, Dallas County,

                                                                                  Texas. Her social security number is ***-**-*323.

                                                                                         Defendant Dancor Transit, Inc. is a domestic corporation with a principle

                                                                                  office in the State of Texas at 2340 Lombardy Lane, Dallas, Texas 75220.

                                                                                  Defendant may be served by serving its registered agent, James W. Hyden, 200

                                                                                  Louisiana, Little Rock, Arkansas 72201.

                                                                                         Defendant Stewart Darden is an individual and may be served with

                                                                                  process through his empoloyer, Dancor Transit, Inc. by serving its registered

                                                                                  agent, James W. Hyden, 200 Louisiana, Little Rock, Arkansas 72201.

                                                                                                           IV. JURISDICTION AND VENUE

                                                                                         The Court has jurisdiction over the controversy because the damages are

                                                                                  within the jurisdictional limits of this Honorable Court.

                                                                                         This Court has venue over the parties to this action since the incident

                                                                                  complained of herein occurred in Dallas County, Texas. Venue therefore is

                                                                                  proper in Dallas County, Texas pursuant to the TEXAS CIVIL PRACTICE & REMEDIES

                                                                                  CODE §15.002.

                                                                                                                       V. FACTS

                                                                                         This lawsuit arises out of a motor vehicle collision that occurred on

                                                                                  Tuesday, June 17, 2014 at or near the intersection of Northwest Highway and




                                                                                  PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                  Lombardy within the city limits of Dallas, Dallas County, Texas. Plaintiff Britany

                                                                                  Walker was operating her vehicle on Lombardy in the left lane. Defendant

                                                                                  Stewart Darden was operating his 18-wheeler on Lombardy in the middle lane.

                                                                                  Defendant Stewart Darden had the blinker to turn right; when he changed his

                                                                                  mind and made an unsafe lane change to the left and crossed into Plaintiff's lane

                                                                                  colliding hard with the passenger's side of Plaintiff's vehicle. As a result of the

                                                                                  collision, Plaintiff was injured and continues to suffer injuries and damages from

                                                                                  this incident.

                                                                                                                 VI. CAUSES OF ACTION

                                                                                  A.      NEGLIGENCE — DEFENDANT STEWART DARDEN

                                                                                         At the time of the motor vehicle collision, Defendant Stewart Darden was

                                                                                  operating his 18-wheeler negligently. Specifically, Defendant had a duty to

                                                                                  exercise ordinary care and operate his 18-wheeler reasonably and prudently.

                                                                                  Defendant breached that duty in one or more of the following respects:

                                                                                         1.        Defendant failed to keep such proper lookout and attention to the
                                                                                                   roadway as a person or ordinary prudence would have kept under
                                                                                                   the same or similar circumstances;

                                                                                         2.        Defendant changed lanes when unsafe to do so;

                                                                                         3.        Defendant failed to drive in a single lane;

                                                                                         4.        Defendant failed to keep an assured safe distance from Plaintiff's
                                                                                                   vehicle;

                                                                                         5.        Defendant failed to timely apply the brakes of his 18-wheeler in
                                                                                                   order to avoid the collision in question; and

                                                                                         6.        Defendant failed to operate his 18-wheeler at a safe speed.




                                                                                  PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                        Each of the above and foregoing acts and omissions, singularly or in

                                                                                  combination, constituted the negligence that was the proximate cause of the

                                                                                  motor vehicle collision and consequently the injuries and damages of Plaintiff.

                                                                                  B.    NEGLIGENT ENTRUSTMENT — DEFENDANT DANCOR TRANSIT, INC.

                                                                                        As an additional cause of action, Plaintiff would show that at the time and

                                                                                  on the occasion in question, Defendant Dancor Transit, Inc. was the owner of the

                                                                                  vehicle driven by Defendant Stewart Darden. Defendant Dancor Transit, Inc.

                                                                                  entrusted the vehicle to Defendant Stewart Darden. Defendant Stewart Darden

                                                                                  was unlicensed, incompetent, and/or reckless and Defendant Dancor Transit,

                                                                                  Inc. knew or should have known that Defendant Stewart Darden was unlicensed,

                                                                                  incompetent, and/or reckless. Defendant Dancor Transit Inc.'s negligence on the

                                                                                  occasion in question proximately caused the collision.

                                                                                  C.    RESPONDEAT SUPERIOR — DEFENDANT DANCOR TRANSIT, INC.

                                                                                        Additionally, Plaintiff would show that at the time and on the occasion

                                                                                  complained of, Defendant Stewart Darden was in the course and scope of his

                                                                                  employment with Defendant Dancor Transit, Inc. thereby making Defendant

                                                                                  Dancor Transit, Inc. liable under the doctrine of Respondeat Superior.

                                                                                  D.    NEGLIGENCE — DEFENDANT DANCOR TRANSIT, INC.

                                                                                        Defendant Dancor Transit, Inc. failed to properly train and/or supervise

                                                                                  Defendant Stewart Darden in order to prevent such accident.




                                                                                  PLAINTIFFS ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                                                    VII. DAMAGES

                                                                                         As a proximate result of Defendants' negligence, Plaintiff suffered

                                                                                  extensive injuries and damages. As a result of Plaintiff's injuries, Plaintiff suffered

                                                                                  the following damages:

                                                                                         a.     Medical expenses in the past and future;

                                                                                         b.     Lost wages in the past and loss of earning capacity in the future;

                                                                                         c.     Property damage and loss of use of Plaintiff's vehicle;

                                                                                         d.     Physical pain and suffering in the past and future;

                                                                                         e.     Mental anguish in the past and future; and

                                                                                         f.     Physical impairment in the past and future.

                                                                                                         VIII. REQUEST FOR DISCLOSURE

                                                                                         Pursuant to Rule 194 of the TEXAS RULES OF CIVIL PROCEDURE Defendants

                                                                                  are requested to disclose, within fifty (50) days of service of this request, the

                                                                                  information or material described in Rule 194.2 (a)-(l).

                                                                                                            IX. DISCOVERY DOCUMENTS

                                                                                         Contemporaneously with this petition, Plaintiff serves to Defendants

                                                                                  Plaintiff's First Set of Interrogatories, First Request for Admissions, First Request

                                                                                  for Production and Request for Privilege Log to Defendant.

                                                                                                 X. INTENT TO USE DEFENDANTS' DOCUMENTS

                                                                                         Plaintiff hereby gives notice of intent to utilize items produced in discovery

                                                                                  against the party producing same. The authenticity of such items is self-proven

                                                                                  per TRCP 193.7.




                                                                                  PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                                                  XI. JURY TRIAL

                                                                                        Plaintiff demands a trial by jury and includes the appropriate jury fees.

                                                                                                               XII. U.S. LIFE TABLES

                                                                                        Notice is hereby given to the Defendants that Plaintiff intends to use the

                                                                                  U.S. Life Tables as prepared by the Department of Health and Human Services.

                                                                                                                    XIII. RELIEF

                                                                                        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

                                                                                  Defendants be cited to appear and answer herein, and that upon final hearing

                                                                                  thereof, Plaintiff recover judgment against Defendants for:

                                                                                        1.     Plaintiff's past medical expenses, which are reasonable and
                                                                                               customary for the medical care received by Plaintiff;

                                                                                        2.     Plaintiff's future medical expenses;

                                                                                        3.     Plaintiff's lost wages in the past and loss of earning capacity in the
                                                                                               future;

                                                                                        4.     Plaintiff's property damage and loss of use of Plaintiff's vehicle;

                                                                                        5.     Plaintiff's physical pain and suffering in the past and future in an
                                                                                               amount to be determined by the jury;

                                                                                        6.     Plaintiff's mental anguish in the past and future in an amount to be
                                                                                               determined by the jury;

                                                                                        7.     Plaintiff's physical impairment in the past and future in an amount to
                                                                                               be determined by the jury;

                                                                                        8.     Interest on the judgment at the legal rate from the date of judgment;

                                                                                        9.     Pre-judgment interest on Plaintiff's damages as allowed by law;

                                                                                        10.    All costs of court; and

                                                                                        11.    Such other and further relief to which Plaintiff may be justly entitled.




                                                                                  PLAINTIFFS ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                                                   Respectfully submitted,

                                                                                                                   EBERSTEIN & WITHERITE, LLP




                                                                                                             BY:
                                                                                                                   JAVIER GONZALEZ
                                                                                                                   State Bar No. 24027331
                                                                                                                   jgonzalez
                                                                                                                   AMY K. WITHERITE
                                                                                                                   State Bar No. 00788698
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                                                                                                                   3100 Monticello Avenue, Suite 500
                                                                                                                   Dallas, Texas 75205
                                                                                                                   214/378-6665
                                                                                                                   214/378-6670 (fax)

                                                                                                                   ATTORNEYS FOR PLAINTIFF




                                                                                  PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE, FIRST SET OF
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                                                                                                        DISTRICT CLERK

                                    CAUSE NO. DC-16-00955                                      Jh'Mella Norman

 BRITANY WALKER                                   §                          IN THE DISTRICT COURT
                                                  §
 V                                                §
                                                  §                          134TH JUDICIAL DISTRICT
 DANCER TRANSIT, INC AND                          §
 STEWART DARDEN                                   §                         DALLAS COUNTY, TEXAS


       DEFENDANTS DANCOR TRANSIT, INC AND STEWART DARNDEN’S ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

        Defendants DANCOR TRANSIT, INC. AND STEWART DARNDEN file this Original Answer to

Plaintiff’s Petition on file herein, or any Plaintiff may hereinafter file by way of amendment or

supplement, and in support thereof respectfully shows the Court and jury as follows:

                                                  1.

        Pursuant to Texas Rules of Civil Procedure 92, Defendants generally deny, all and singular,

each and every material allegation contained in Plaintiff’s Petition and any Petition Plaintiff may

hereinafter file by way of amendment or supplement, and demands strict proof thereof as required

by the Constitution and the Laws of the State of Texas.

                                                  2.

        Pleading further, Defendants would show that the negligence of the Plaintiff and/or other

third parties were a proximate cause of the occurrence in question. Accordingly, Defendants are

entitled to the submission of the issue of Plaintiff’s proportionate and contributory negligence

and/or other third parties’ or responsible third parties’ contributory negligence to the finder of the

fact, pursuant to Texas Civil Practice and Remedies Code Chapters 32 and 33. Further, Defendants

seek contribution from joint tortfeasors and/or a set-off or credit for all settlements between

Plaintiff and any other persons in connection with the event, injuries and damages forming the

basis of this lawsuit.



DEFENDANTS DANCOR TRANSIT, INC AND STEWART DARNDEN’S ORIGINAL ANSWER - Page 1 of 4
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                                                 3.

        Pleading further, Defendants would show Plaintiff had pre-existing physical conditions

totally unrelated to the incident made the basis of this lawsuit and that such pre-existing conditions

are the sole cause or a proximate cause of the medical treatment and expenses incurred by Plaintiff

both before and after the accident made the basis of this lawsuit and are the sole cause or a

proximate cause of any lost time, loss of earnings and earning capacity, physical impairment, and

of any pain suffering and mental anguish of Plaintiff. Defendants request that the court instruct the

jury not to consider elements of damages incurred and caused by such pre-existing conditions.

                                                 4.

        The injuries and damages of which Plaintiff complains were wholly caused by a new and

independent cause or causes not reasonably foreseen by Defendants, or by intervening acts of

others which were the sole proximate cause, or in the alternative, a proximate cause to any injuries

and damages to Plaintiff, and therefore, such new and independent acts or causes became the

immediate and efficient cause or causes of injury, such that any and all of the negligent acts or

omissions of which Plaintiff complains as to Defendants were not the cause of any damages or

injuries suffered by Plaintiff.

                                                 5.

        Defendants further assert Texas Civil Practice and Remedies Code 41.0105 limiting

Plaintiff's recovery of medical or health care expenses incurred to the amount actually paid or

incurred by or on behalf of the Plaintiff.




DEFENDANTS DANCOR TRANSIT, INC AND STEWART DARNDEN’S ORIGINAL ANSWER - Page 2 of 4
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                                                   6.

         Pleading further, if same be necessary, Defendants claim the protections of section 18.091

of the Texas Civil Practices and Remedies Code. Specifically, Defendants maintains that Plaintiff,

if seeking recovery for loss of earnings, loss of earning capacity, loss of contributions of a

pecuniary value and/or loss of inheritance must present evidence in the form of a net loss after

reduction for income tax payments or unpaid tax liability pursuant to any federal income tax law.

                                                   7.

         In the unlikely event that Plaintiff obtains a judgment in her favor for damages in this case,

Defendants affirmatively pleads the liability limits set forth in Section 41.008 of the Texas Civil

Practice and Remedies Code, as well as any other applicable cap or limit.

                                                   8.


         Defendants hereby gives notice of intent to utilize items produced in discovery in the trial

of this matter and the authenticity of such items is self-proven per the Texas Rules of Civil

Procedure, 193.7.

                                                   9.

         Defendants further alleges that Plaintiff’s claims for pre-judgment interest are limited by

the dates and amounts set forth in one or more of the following statutes, as applicable to this case:

         A.     Chapter 41, Texas Civil Practice and Remedies Code; and

         B.     The Texas Finance Code.

                                                  10.

         Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Defendants demands a jury

trial.




DEFENDANTS DANCOR TRANSIT, INC AND STEWART DARNDEN’S ORIGINAL ANSWER - Page 3 of 4
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        WHEREFORE, PREMISES CONSIDERED, Defendants pray Plaintiff take nothing from

them by Plaintiff’s claims, that Defendants recover their costs of suit, and for such other and further

relief to which Defendants may show themselves justly entitled, both special and general, at law

or in equity.


                                               Respectfully submitted,

                                               /s/ Jerald L. Butler
                                               _______________________________________
                                               Jerald L. Butler
                                               SBN: 00783771
                                               LAW OFFICE OF DRISKELL & LAWRENCE
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                                               (855) 717-5349: FAX
                                               jerald.butler@nationwide.com
                                               ATTORNEY FOR DEFENDANTS



                                   CERTIFICATE OF SERVICE

       On the 10th day of March, 2016 a true and correct copy of this document was served in
accordance with Texas Rules of Civil Procedure to:

 Eberstein & Witherite, LLP
 Javier Gonzalez
 3100 Monticello Avenue, Suite 500
 Dallas, Texas 75205
 (214) 378-6665
 jgonzalez@ewlawyers.com

                                               /s/ Jerald L. Butler
                                               _________________________________
                                               Jerald L. Butler




DEFENDANTS DANCOR TRANSIT, INC AND STEWART DARNDEN’S ORIGINAL ANSWER - Page 4 of 4
